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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


                                          Civil Action No. 11-07318 (WHW)
  JUICE ENTERTAINMENT, LLC,               (MCA)
  THOMAS DORFMAN, AND CHRIS
  BARRETT,
                     Plaintiffs,
                                               Oral Argument Requested
                    vs.

  LIVE NATION ENTERTAINMENT,
  INC.,

                            Defendant.


  _____________________________________________________________________

           DEFENDANT LIVE NATION ENTERTAINMENT, INC.’S
                 MEMORANDUM OF LAW IN SUPPORT OF
                   MOTION FOR SUMMARY JUDGMENT
  _____________________________________________________________________


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        Pursuant to Fed. R. Civ. P. 56, defendant Live Nation Entertainment, Inc.

  (“Live Nation”) respectfully submits this brief in support of its motion for

  summary judgment, with prejudice, on all claims asserted by Plaintiffs in the First

  Amended Complaint.

                         PRELIMINARY STATEMENT

        This case is about two music festival producer wannabes who, having failed

  to bring off the ambitious event they were planning, are now looking for another

  way to have a big payday.

        In Fall 2010, Plaintiffs’ music business experience consisted of deejaying at

  weddings and bar mitzvahs and planning small night club events. Their sole

  attempt at producing a music festival of any size had been a spectacular failure.

  Plaintiffs, however, saw a different reality. The warped mirror into which they

  were gazing reflected two hip impresarios who could succeed at anything. Their

  immediate dream was to produce a two-day electronic dance music (“EDM”)

  festival featuring world-renowned headline artists as part of the 2011 New Jersey

  State Fair.

        Of course, Plaintiffs were hopelessly out of their depth, and the event they

  dreamed about never got off the ground. But like many disappointed dreamers,

  Plaintiffs refused to accept responsibility for their failure. Plaintiffs wanted a

  scapegoat, preferably one around which a David-and-Goliath story could be


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  woven. As the biggest concert promoter in the world, Live Nation was an obvious

  target.

            Plaintiffs claim that Live Nation used its clout to persuade talent agencies to

  prevent their artists from playing at the State Fair EDM event, thereby tortiously

  interfering with Plaintiffs’ prospective business relations and their contract with

  State Fair Event Management (“SFEM”). Plaintiffs further claim that Live Nation

  defamed them to SFEM, causing “the dissolution” of their SFEM contract and

  “reputational damage.” Plaintiffs are claiming damages for profits lost as a result

  of SFEM’s cancellation of their contract to stage events during the State Fair.

            Plaintiffs’ interference-based claims are based on the premise that they

  failed to attract headline and supporting acts to perform at their EDM event

  because Live Nation applied “pressure” to three main talent agencies. But the

  undisputed facts of record are to the contrary. In fact, the evidence shows that

  Plaintiffs’ event was doomed from the start. Among Plaintiffs’ many mistakes,

  miscalculations and missteps is the fact that the State Fair event conflicted with

  two well-established annual electronic music festivals. That meant artists had to

  choose between playing at an event that was being produced by two no-names and

  events that, in the electronic music industry, were household words.

            Plaintiffs were also late to the party. By the time they finally got around to

  contacting talent, their prospective event was only a few short months away, and


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  artists (especially the headliners Plaintiffs were hoping to book) generally plan

  their schedules far in advance. Experienced promoters warned Plaintiffs that they

  had better get moving, but that advice went unheeded.

        Nor did Plaintiffs have the funds necessary to put on an event of the size

  they were contemplating. Plaintiffs (who had virtually no money themselves)

  needed at least a certain minimum upfront amount, with the remainder to come

  from the proceeds of a successful event. Plaintiffs never came close to obtaining

  the necessary upfront money. And most of what they did get, they lost in a scam

  so improbable that it is hard to believe anyone would have fallen for it.

        As for Plaintiffs’ defamation claim, it is based on the premise that someone

  from Live Nation made negative comments about them to SFEM, causing SFEM

  to terminate its contract with Plaintiffs to produce the Event. As an initial matter,

  the person at SFEM to whom the alleged comments were supposedly made denies

  ever hearing such comments. In addition, the undisputed evidence shows that

  SFEM’s President cancelled Plaintiffs’ contract, not because of any negative

  comments by Live Nation, but because Plaintiffs had failed to timely book talent

  for the proposed EDM event. Thus, judgment should be granted on Plaintiffs’

  defamation claim as a matter of law.

        Finally, based on the undisputed facts of record, the “lost profits” that

  Plaintiffs allege are too speculative and remote to meet the standard of reasonable


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  certainty for recovery. The evidence shows that Plaintiff Juice Entertainment, LLC

  (“Juice”), was an unproven new enterprise that -- up to the point SFEM cancelled

  its contract -- had done nothing but lose money on the EDM event. In addition,

  Plaintiffs had no experience with large scale outdoor EDM festivals. Accordingly,

  Plaintiffs have no relevant track record that could serve as a basis for computing

  damages, i.e., lost profits. Thus, Plaintiffs’ lost profits claim is barred as a matter

  of law under the “new business rule.”

        With discovery now complete, it is clear that Plaintiffs have no evidence to

  support any of their claims. To the contrary, the undisputed material facts show

  that their case is a fabrication, start to finish. Accordingly, Live Nation should be

  granted judgment as a matter of law.

                             PROCEDURAL HISTORY

        On December 16, 2011, Plaintiffs filed suit against Live Nation alleging

  tortious interference with contract, unlawful interference with contract, tortious

  interference with business relations, defamation and unfair competition. (Dkt. 1).

  On March 16, 2012, Live Nation moved to dismiss the Complaint. (Dkt. 13-1).

  On July 3, 2012, Live Nation’s motion was granted in part and denied in part.

  (Dkt. 21). Specifically, Plaintiffs’ unlawful interference with contract and unfair

  competition claims were dismissed with prejudice; Plaintiffs’ tortious interference

  with contract and defamation claims were dismissed without prejudice; and Live


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  Nation’s motion to dismiss Plaintiffs’ tortious interference with business relations

  claim was denied.     On September 4, 2012, Plaintiffs filed a First Amended

  Complaint alleging three claims: tortious interference with contract (Count I);

  tortious interference with business relations (Count II); and defamation (Count III).

  (Dkt. 24). Now that discovery has concluded, Live Nation moves for summary

  judgment.

                             STATEMENT OF FACTS1

  A.    Plaintiffs Had No Experience with Large Music Festivals

        In Fall 2010, Plaintiffs Dorfman and Barrett began toying with the notion of

  putting on an electronic music festival at the Meadowlands during the State Fair in

  June 2011. Neither had any experience with music festivals of the size they were

  contemplating. SUMF ¶ 27, citing Marx Cert. Ex. 1 (Barrett Dep. at 273:9-12,

  testifying that his only previous experience with outdoor music festivals had been

  as a performer); Marx Cert. Ex. 3 (Dorfman Dep. at 29:9-30:10; 35:1-6, testifying

  that he was not involved with any large scale event festivals prior to 2010 and that

  his club events had, at most, 5,000 attendees); Marx Cert. Ex. 2 (Sacks Dep. at

  36:6-9, testifying that, when he met Plaintiffs to explore collaborating with them

  1
    Although all of the facts below are undisputed (or undisputable), some facts are
  provided simply for background and context and are not “material” in the sense
  that they must be accepted in order to grant Live Nation summary judgment. The
  material facts upon which Live Nation’s motion is based (a much narrower subset)
  are shown in bolded italics herein and are set forth in the accompanying Statement
  of Undisputed Material Facts (“SUMF”).
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  on the Event, his “concern was they had not really done a festival of that size …);

  id. at 46:23-47:1 (“If you look at [Plaintiffs’] history as far as events, they’ve done

  a lot of nightclub stuff and booked some artists, but the level of talent we were

  talking about was a couple of steps above them.”); id. at 36:6-9 (testifying that,

  when he met Plaintiffs, his “concern was they had not really done a festival of that

  size and maybe didn’t understand what the financial repercussions were of doing

  an event of that size”).

        In fact, the only music festival of any size in which Dorfman and Barrett

  had had any previous involvement was a Latin festival at the Meadowlands in

  2010. SUMF ¶ 28, citing Marx Cert. Ex. 1 (Barrett Dep. at 23:7-8); Marx Cert.

  Ex. 3 (Dorfman Dep. at 30:4-10, 70:25-71:8). However, that event lost money.

  SUMF ¶ 28, citing Marx Cert. Ex. 1 (Barrett Dep. at 23:14-24:1, testifying that

  Plaintiffs lost between $5,000 and $10,000 on the Latin festival); Marx Cert. Ex. 3

  (Dorfman Dep. at 81:14-83:8, testifying that “[w]e lost money” and that 10,000

  attendees had been anticipated but only about 1,500 to 2,000 showed up); id. at

  73:1-5 (“We rushed the event and we actually didn’t land an anchor.”); Marx Cert.

  Ex. 2 (Sacks Dep. at 16:11-13, 17:14-20, testifying that Plaintiffs told him their

  2010 Latin festival hadn’t gone well and that they wanted to step up their game for

  their next event); Marx Cert. Ex. 4 (Dorso Dep. at 21:15-22:11) (“[W]as

  [Plaintiffs’ 2010 Latin festival] successful? No, it was not. … It was poorly


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  attended, and I think it was poorly marketed.”).2

  B.    The Timing of the Event Conflicted with Established Electronic Dance
        Festivals Being Held Elsewhere

        The Event was slated to take place in the Meadowlands parking lot on

  June 25 and 26, 2011, during the New Jersey State Fair. SUMF ¶¶ 1-2, citing

  Marx Cert. Ex. 5 (Mar. 7, 2011 Agreement). However, those were the exact days

  that the well-established Electric Daisy Carnival (“EDC”) would be held in Las

  Vegas.   SUMF ¶ 21, citing Marx Cert. Ex. 6 (Electric Daisy Carnival 2011

  schedule); Marx Cert. Ex. 3 (Dorfman Dep. at 117:5-9, testifying that he knew

  Electric Daisy Carnival was putting on the same kind of event on the same days in

  Las Vegas). Plaintiffs acknowledge that there was considerable overlap between

  the artists they had wanted for the Event and those who went on to perform

  instead at EDC in Las Vegas. SUMF ¶ 21, citing Marx Cert. Ex. 3 (Dorfman

  Dep. at 119:4-124:5).

        The Event also conflicted with Electric Zoo, which is held every Labor Day

  on Randall’s Island, New York. Like Electric Daisy Carnival, Electric Zoo is a

  2
    This testimony from Sacks (who had collaborated with Plaintiffs on the Event),
  from SFEM President Dorso (with whom Plaintiffs contracted for the Event) and
  from Plaintiffs themselves conflicts markedly with the allegations in the Amended
  Complaint. See, e.g., Compl. ¶ 38 (alleging that the 2010 Latin festival had been
  “successful” and that “the concert’s success led SFEM to want to work with
  Plaintiffs again”) (emphasis added); see also id. ¶ 39 (“Building on the success of
  the 2010 Latin Music Festival, Mr. Barrett and Mr. Dorfman began discussions
  with SFEM [about producing] … concerts at the State Fair.”) (emphasis added).

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  well-established festival. Although the dates for the Event and Electric Zoo did

  not overlap, given the standard industry “90-day exclusivity within a 150-mile

  radius” term,3 artists who had, in 2011, received offers to appear at both the Event

  and Electric Zoo had to pick which one they preferred. See Marx Cert. Ex. 3

  (Dorfman Dep. at 133:17-134:3, testifying that he understood Plaintiffs would be

  competing with Electric Zoo for talent).

  C.    Knowledgeable Promoters Tell Plaintiffs What Needs to Be Done and
        Urge Them to Get Moving

        Given their own lack of experience with large festivals, in Fall 2010

  Plaintiffs began talking to Paul Potter and Alan Sacks about the Event. Compl. ¶

  43. Plaintiffs describe Potter as having “extensive experience in concert promotion

  and marketing,” and they describe Sacks as being an “experienced producer and

  promoter in the electronic dance market.” Id. Potter, who claimed to have a good

  connection with William Morris Entertainment (“WME”) President and CEO

  David Levy, advised Plaintiffs about what they needed to do immediately in order

  to get WME’s attention. See Marx Cert. Ex 8 (e-mail chain Oct. 11-15, 2010

  among Potter, Dorfman, Barrett and Sacks) (Potter Oct. 11 e-mail: “The key

  factors at this point are that we have the exclusive opportunity to even stage such

  an event of this nature at the venue and the potential required … funding in place

  3
   See, e.g., Marx Cert. Ex. 7 (February 3, 2011 e-mail from DiMatteo to Plaintiffs
  and Sacks, listing, as one of the “Special terms” for artist offers: “Exclusive
  performance 90 days prior and after show date/150 mile radius of show location”).
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  before we approach David [Levy] at [WME].”). Potter outlined nine separate

  categories of information that would have to be put into “presentation format” for

  Levy in order “to introduce the William Morris Agency to the team and the venue

  professionally.” Id. (Potter Oct. 11 e-mail).

        Barrett subsequently provided Potter with what he called “P&L” estimates

  “to get the ball moving.” Id. (Barrett Oct. 14 e-mail). Potter thanked him for his

  “rough calculations” but listed several more items of information that were still

  missing and asked pointedly “do you have an investor … at present?” Id. (Potter

  Oct. 14 e-mail). Barrett responded vaguely, claiming to “have some investors

  interest over here.” Id. (Barrett Oct. 15 e-mail).

        Potter continued to press Plaintiffs for the information that would be needed

  in order to present the Event to potential sponsors, investors and agents. See Marx

  Cert. Ex. 9 (Potter e-mails Nov. 24 and 26, 2010, the Nov. 24 e-mail listing

  information to be added to presentation and suggesting that it be “designed a little

  better to make it presentable to a financial backer” and the Nov. 26 e-mail stating

  “Guys we need to get the rest of the info together [as] time is ticking!!!!!”); see

  also Marx Cert. Ex. 1 (Barrett Dep. at 187:16-23, confirming that Potter “was

  urging us to get moving and to start making offers to these agents”).           The

  information that Potter said was urgently needed was never provided.

        Even Plaintiffs realized that time was of the essence, though, particularly


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  with respect to booking talent. See Marx Cert. Ex. 8 (October 15, 2010 e-mail

  from Barrett to Dorso, stating: “The premier artists are setting their June schedules

  now so time is of the essence.”); Marx Cert. Ex. 1 (Barrett Dep. at 175:10-25,

  testifying that he understood that, by October 2010, premier artists were already

  confirming their June 2011 schedules); cf. id. at 176:11-17 (recognizing that the

  Event needed premier artists in order to be successful: “You need an anchor each

  day and then supporting acts.”); Marx Cert. Ex. 3 (Dorfman Dep. at 79:14-20,

  testifying that, to be successful, outdoor festivals need an anchor with a “massive

  reputation where they can draw a very large crowd”).

        Nevertheless, Plaintiffs continued to drag their heels. By mid-December

  2010, Potter was alarmed, telling Barrett “We need to move fast” and “We could

  be booking this thing right now!” See Marx Cert. Ex. 10 (December 17, 2010

  Barrett/Potter e-mail chat). Barrett responded by saying Plaintiffs were “wrapping

  up finance” and had “one more in the hot seat.” Id. Asked at deposition who that

  potential investor “in the hot seat” might have been, Barrett testifies that he seems

  to recall two people, whose names might have been “Izzy” and “Mike,” who might

  have expressed some interest in funding the Event. Marx Cert. Ex. 1 (Barrett Dep.

  at 198:25-200:6).4


  4
   Until very late in the process, Plaintiffs had not even come up with a name for the
  Event. See Marx Cert. Ex. 11 (DiMatteo Dep. at 67:24-25 (“We changed the
  name like 20 -- like several times.”); and at 68:21-22 (“Everyone involved had a
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  D.    SFEM Issues Plaintiffs an Engagement Letter

        One reason Plaintiffs waited so long to get started was that they had nothing

  in writing that would show talent agencies or potential investors that they even had

  a venue. See Marx Cert. Ex. 8 (Oct. 11, 2010 e-mail from Potter to Plaintiffs and

  Sacks, advising Plaintiffs that, in addition to having “potential funding in place,”

  before WME could be approached they also needed to obtain “a letter of consent

  explaining that we have the exclusive rights to the venue for a dance event for the

  next 5 years with an opinion to renew”); Marx Cert. Ex. 2 (Sacks Dep. at 26:14-17,

  27:7-8, testifying that “one of the issues we kept running into … was they couldn’t

  produce the land lease agreement with the Meadowlands.” … “It was a bit of a

  brick wall….”); see also Marx Cert. Ex. 1 (Barrett Dep. at 188:1-20, testifying that

  Dorfman in particular was insistent that no talent be booked until they had an

  engagement letter with SFEM in place).

        Plaintiffs had repeatedly asked SFEM’s Al Dorso to give them an

  engagement letter. Marx Cert. Ex. 1 (Barrett Dep. at 189:6-22, testifying that

  Dorfman had asked “over and over again”); see also Marx Cert. Ex. 3 (Dorfman

  hard time agreeing on the name [of the Event].”)). According to DiMatteo, having
  a name for the Event was crucial. Id. at 68:7-8 (“The brand is everything so it is of
  the utmost importance.”). “[I]deally, you would want to have the name and brand
  in place even before the offer process begins. … [T]he sooner you have it the
  better.” Id. at 68:12-17. DiMatteo agreed that lack of a name could “[p]otentially”
  have implications for the success of the show because, “when you go to agents …
  and they ask what the name is, and you don’t have one, it is a strike against you in
  my opinion.” Id. at 68:23-69:7.

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  Dep. at 106:5-24, testifying that, in October 2010, Plaintiffs tried to get something

  in writing from Dorso but he kept putting them off). SFEM finally issued an

  engagement letter on December 1, 2010. See Marx Cert. Ex. 12 (Dec. 1, 2010

  engagement letter). The engagement letter stated that SFEM granted Plaintiffs the

  exclusive right to stage an event sometime during the 2011 State Fair (which

  would run from June 23 to July 10) and that terms and conditions would “be set

  forth in a formal contract at a later date.” Id.; see also Marx Cert. Ex. 4 (Dorso

  Dep. at 38:4-7, testifying that, as of December 1, 2010, no agreement about

  finances had been reached; the purpose of the engagement letter was simply to

  allow Plaintiffs to “get investors and book acts”).

  E.    Plaintiffs Add Two More Members to Their Team

        With proof of venue now in hand, Plaintiffs were finally, albeit belatedly,

  ready to start trying to book artists for the Event and obtain the necessary funding.

  To that end, in early 2011 Plaintiffs sought help from John DiMatteo and Vito

  Bruno, who were business partners. Marx Cert. Ex. 3 (Dorfman Dep. at 141:19-

  23); Marx Cert. Ex. 11 (DiMatteo Dep. at 13:6-14:3, testifying that he and Bruno

  “agreed to go in as a partnership” to work on the Event).

        By this time, however, the Event was just a few short months away.

  Although DiMatteo agreed to handle artist booking, he was clearly worried, as he

  knew that an event of the size Plaintiffs were contemplating generally required


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  “[o]ver a year” in lead time. Id. at 31:25-32:3. DiMatteo continued: “We did not

  have a year of lead time and I went against my better judgment and got involved

  anyway….” Id. at 32:14-16; see also id. at 106:9-15 (testifying that he had never

  been involved in an event similar in size where there was less than a year’s lead

  time).

           Although Bruno, too, agreed to help, he also had timing concerns. Marx

  Cert. Ex. 13 (Bruno Dep. at 55:14-21, testifying that “[t]his was already pushing

  the envelope for a major event. … You have to go months and months out for a big

  production.”); see also id. at 56:1-2 (“I knew from the beginning we were under

  the gun, definitely under the gun.”).

  F.       Plaintiffs Attempt to Obtain Funding

           Putting on the Event would require Plaintiffs to buy talent, rent staging, light

  and sound equipment and bear all of the other costs associated with a music

  festival of the size they were contemplating.            In other words, money was

  paramount, and Plaintiffs themselves had none. Bruno, who was experienced in

  financing events such as the one Plaintiffs were planning, estimated that the entire

  Event would cost about $2 million. Bruno believed, however, that, with careful

  planning and by making down-payments only (with balances to be paid post-

  Event), the Event might be produced for an upfront cost of $600,000. Marx Cert.

  Ex. 13 (Bruno Dep. at 113:7-25); see also id. at 114:1-4 (“Q: So could you have


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  done the event with $600,000 in financing if the expenses were $2 million? A:

  Yes, probably, yes.”).

        1.    Bruno agrees to provide $300,000 based on Plaintiffs’ assurance
              that they had the rest of the financing already in place

        On or around January 21, 2011, Bruno verbally agreed to put up $300,000

  provided that Plaintiffs would also put up $300,000. Marx Cert. Ex. 13 (Bruno

  Dep. at 71:22-72:1); id. at 58:14-16 (“They [Plaintiffs] asked me for $300,000 to

  put up.”); id. at 59:4-8 (testifying that Plaintiffs told him “[t]hey had other

  financing in place from other people”). Plaintiffs never asked Bruno whether he

  would be willing to provide more than $300,000, and he never agreed to do so. Id.

  at 59:9-15; see also id. at 59:16-21 (categorically denying that he had ever agreed

  to finance the entire Event). Plaintiffs never obtained any written agreement from

  Bruno regarding financing. Marx Cert. Ex. 1 (Barrett Dep. at 217:14-19).

        2.    Plaintiffs obtain $300,000 from another investor but lose it almost
              immediately

        Subsequent to obtaining Bruno’s agreement to provide $300,000 (which, as

  noted, was premised on Plaintiffs’ assurances that they already had the rest of the

  funding in place), one of Plaintiffs’ collaborators on the Event, John Sandberg,5

  obtained $300,000 for the Event from a couple from Hackensack, John and

  5
   John Sandberg is the registered agent of Plaintiff Juice Entertainment. See Marx
  Cert., Ex. 15 (May 4, 2009 N.J. Dept. of Treasury, Div. of Revenue, Certificate of
  Formation).

                                          14
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  Georgianne Chiusolo. See Marx Cert. Ex. 14 (February 16, 2011 Promissory Note

  between John Sandberg, Dorfman, Barrett, Juice Entertainment and the Chiusolos);

  see also Marx Cert. Ex. 3 (Dorfman Dep. at 151:23-152:15, testifying that

  Sandberg had obtained $300,000 from John Chiusolo); id. at 224:23-225:9,

  testifying that the Chiusolos were to receive 25% of Juice Entertainment’s net

  profit from Event in addition to the return of the $300,000 investment).

        Plaintiffs lost about half of the Chiusolo money almost immediately. As

  Sandberg explained it, on or around March 1, 2011, he had been put in contact

  with someone named Jasmine Adams (a.k.a. “Bella Chanel”), who purported to be

  an agent for some prominent hip-hop artists. See Marx Cert. Ex. 16 (March 27,

  2011 e-mail from Sandberg to Barrett and Dorfman). According to Sandberg, Ms.

  Adams/Chanel asked him to wire her $131,750, which he did. Realizing he had

  been scammed, Sandberg asked for the money back, but to no avail. Id.; see also

  Marx Cert. Ex. 3 (Dorfman Dep. at 232:5-11, testifying that “we lost the vast

  majority of the [$300,000] … in a scam.”); Marx Cert., Ex. 1 (Barrett Dep. at

  239:22-240:6: Q: “That money was just lost?” A: “To the best of my knowledge,

  lost, yes.” Q: “And whoever it was wired to took the money?” A: “Yes.”).6


  6
   Plaintiffs only have Sandberg’s account of what happened to the $131,750. It is
  worth noting that other, documented actions by Sandberg show a disturbing
  willingness to play fast and loose with other people’s money. For example, at a
  meeting with Al Dorso of SFEM on March 7, 2011, Plaintiffs provided Dorso with
  a letter from Provident Bank stating that Juice Entertainment’s account had a
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        Although the Chiusolos’ investment had been specifically earmarked for the

  Event, Plaintiffs used what remained of it after the Adams/Chanel incident for

  “business expenses.”    Marx Cert. Ex. 3 (Dorfman Dep. at 235:1-4).         Those

  included putting on “an event right down the road [from the Meadowlands] in the

  swamp in Carlstadt” featuring Charlie Sheen. Id. at 235:4-13.7 Plaintiffs paid

  Sheen $55,000 out of the Chiusolo money. Marx Cert. Ex. 1 (Barrett Dep. at

  241:4-5, confirming that part of the Chiusolo money was used to pay Sheen).8


  balance of $300,000 (i.e., it contained the Chiusolo money that was within days of
  being lost). See Marx Cert. Ex 17 (Provident Bank letter). Sandberg, however,
  had wanted to show Dorso a forged Provident Bank letter showing an account
  balance of $900,000 in order to make Juice appear to be more financially solvent
  than it really was. See Marx Cert. Ex. 18 (forged Provident Bank letter); Marx
  Cert. Ex. 3 (Dorfman Dep. at 260:16-261:1). Plaintiffs claim that they did not use
  the forged letter. Marx Cert. Ex 1. (Barrett Dep.at 230:7-10). More recently, state
  prosecutors investigated Sandberg in connection with hundreds of thousands of
  dollars that an organization he founded had collected for Hurricane Sandy victims
  but had never distributed. See Marx Cert. Ex. 19 (newspaper article found at
  http://www.app.com/article/20131213/NJNEWS2003/312130107/sandy-charities
  (“Seized Illegal Sandy Charity Money Still in Limbo: Sparta couple who started
  the charity spent summer in Costa Rica”). Civil charges were filed against
  Sandberg, and a settlement was later reached. See also Marx Cert. Ex 3 (Dorfman
  Dep at 244:17-20) (testifying that Sandberg “had received a lot of money from
  Hurricane Sandy” that he hadn’t “disburse[d]”).
  7
   Dorfman testified that the reason Plaintiffs selected the Carlstadt venue for the
  Sheen event (a club called “Dragonfly”) was “to stir up interest for the
  Meadowlands, showing that we can book literally right across the street. I can
  book the number one celebrity in the world at the time, here in the swamp….”
  Marx Cert. Ex. 3 (Dorfman Dep. at 236:16-20).
  8
   Plaintiffs also had to obtain “tents … with some heaters,” as the Sheen event was
  held outdoors in the middle of winter. Marx Cert. Ex. 3 (Dorfman Dep. at 237:4-
  6).
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        The Chiusolos never got their $300,000 back. Marx Cert. Ex. 3 (Dorfman

  Dep. at 238:16-20, testifying that the Chiusolos were never repaid “because the

  event never took place. We didn’t have the money to repay them.”); Marx Cert.

  Ex. 1(Barrett Dep. at 243:15-21, testifying that, by May 31, 2011, only $242.36

  was left from the Chiusolos’ money). The Chiusolos ultimately sued Plaintiffs for

  the $300,000. Marx Cert. Ex. 3 (Dorfman Dep. at 54:22-55:11, testifying that John

  Chiusolo has sued him over the money he loaned for the Event and never got

  back); id. at 238:25-239:9, acknowledging that the Chiusolos had caused legal

  papers to be delivered to his house regarding the $300,000).

        Not surprisingly, Plaintiffs’ other collaborators were shaken by the

  Adams/Chanel incident.      See Marx Cert. Ex. 2 (Sacks Dep. at 23:24-24:10,

  describing how Plaintiffs “wired half the seed money” to someone who didn’t

  actually represent the artist they were trying to hire. “So within, I don’t know, two

  weeks of having possession of the seed money … they had lost half of it. It was a

  major concern obviously.”).

  G.    DiMatteo Makes Offers to Artists on Behalf of Plaintiffs

        DiMatteo was the person responsible for booking talent for the Event.

  SUMF ¶ 7, citing Marx Cert. Ex. 1 (Barrett Dep. at 42:21-23).                    All

  communications with the three talent agencies at issue here (WME, AM Only

  and The Windish Agemcy) went through DiMatteo. SUMF ¶ 7, citing Marx


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  Cert., Ex. 3 (Dorfman Dep. at 121:1-5, confirming that “John DiMatteo made all of

  the offers … and received all of the responses from the agents to whom the offers

  had been made”); Marx Cert. Ex. 13 (Bruno Dep. at 36:1-20, testifying that

  DiMatteo was in charge of talent and received all responses to offers).

        1.     DiMatteo makes offers to three potential headliners

        Plaintiffs believed at least one of the following three artists had to play at

  the Event if it was to be successful: Tiesto, David Guetta or Steve Angello.

  SUMF ¶ 8, citing Amended Compl. ¶ 7 (alleging that “Tiesto, David Guetta, and

  Steve Angello” were important to Event’s success); id. at ¶ 76 (identifying “[t]hree

  artists, in particular … Tiesto, Steve Angello, and David Guetta”).

        On January 26, 2011, DiMatteo sent Paul Morris at AM Only an offer for

  Tiesto to play at the Event. SUMF ¶ 9, citing Marx Cert. Ex. 20 (Jan. 26, 2011 e-

  mail from DiMatteo to Morris). DiMatteo also expressed an interest in 20 other

  AM Only artists, including potential headliner David Guetta, and, on February

  16, 2011, DiMatteo sent Morris an offer for Guetta. SUMF ¶ 12, citing Marx

  Cert. Ex. 21(Feb. 16, 2011 e-mail from DiMatteo to Morris ). On or around

  February 21, 2011, DiMatteo sent Steve Goodgold at Windish an offer for Steve

  Angello. SUMF ¶ 15, citing Marx Cert. Ex. 22 (Feb. 21-22, 2011 e-mail exchange

  between DiMatteo and Goodgold).

        2.     DiMatteo also makes offers to other artists


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        In addition to the three potential headliners, DiMatteo also made offers to

  many lesser-known artists. On February 3, 2011, DiMatteo sent WME offers for

  about 30 of its artists. All of these WME offers expired on February 12, 2011.

  SUMF ¶¶ 17, 18, citing Marx Cert. Ex. 23 (Feb. 3, 2011 e-mail from DiMatteo to

  Joel Zimmerman, et al, at WME); Marx Cert. Ex. 11(DiMatteo Dep. at 55:17-21,

  confirming that all WME offers expired February 12, 2011).

        In addition, on February 22, 2011, DiMatteo sent Windish offers for five of

  its artists. All of these Windish offers expired on March 1, 2011. SUMF ¶ 19,

  citing Marx Cert. Ex. 24 (Feb. 22, 2011 e-mail from DiMatteo to Plaintiffs and

  others attaching copies of Windish offers).

  H.    DiMatteo’s Offers Were Not Accepted

        Of the approximately 57 offers made by DiMatteo to artists represented by

  AM Only, Windish and WME, to play at the Event only one was accepted; the

  rest of the offers expired or were rejected. The one acceptance was from Windish

  artist Matthew Dear. No contract was signed with Dear, however, “because

  [Plaintiffs] didn’t have headliners.”    SUMF ¶ 12, citing Marx Cert. Ex. 11

  (DiMatteo Dep. at 86:20-87:21). A major reason for this lack of response was the

  fact that the Event conflicted with well-established festivals. See Statement of

  Facts (“SOF”), Sect. B, supra. For example, Tiesto decided to play at Electric Zoo

  over Labor Day 2011. SUMF ¶ 10, citing Marx Cert. Ex. 2 (Sacks Dep. at 86:17-


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  87:6); Marx Cert. Ex. 11 (DiMatteo Dep. at 34:10-12, testifying that “Tiesto’s

  offer was not accepted because … he was going to Electric Zoo.”); id. at 108:3-

  109:2 (finding it reasonable that Tiesto’s agreement with Electric Zoo prohibited

  him from playing at Event: “It happens all the time.”).9

        Likewise, many of the artists to whom DiMatteo had made offers

  (including potential headliners Tiesto, Steve Angello and David Guetta) decided

  to play at Electric Daisy Carnival in Las Vegas, which, as noted, fell on the same

  days as the Event.10 SUMF ¶ 21, citing Marx Cert. Ex. 6 (schedule obtained from

  EDC 2011 Las Vegas website); Marx Cert. Ex. 3 (Dorfman Dep. at 121:22-124:5,

  confirming that Tiesto, Angello, Guetta and many others to whom DiMatteo had

  made offers ended up playing at EDC).

  I.    Uncontroverted Evidence Shows That None of the Three Potential
        Headliners Ever Agreed to Perform at the Event and That Live Nation
        Never Pressured Agencies to Withhold Talent

        Plaintiffs allege that virtually all of the artists to whom DiMatteo sent offers

  had verbally agreed to perform at the Event but that, due to pressure from Live

  Nation, the artists “pulled out of the show, one by one.” Amended Compl. ¶ 86.

  9
    Cf. Marx Cert. Ex. 3 (Dorfman Dep. at 124:6-126:2, testifying that he knew
  Electric Zoo’s Labor Day festival could impact the ability to get talent for the
  Event “depend[ing] on the artist’s contract” and acknowledging that headline
  artists like Tiesto would likely be contractually prohibited from playing at both
  events).
  10
     Attendance at the three-day 2011 Las Vegas Electric Daisy Carnival was
  estimated at 230,000. http://en.wikipedia.org/wiki/Electric_Daisy_Carnival

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  The uncontroverted evidence shows that this allegation is completely false.

        As an initial matter, no artist “pulled out of the show” because no artist had

  ever been in it. With respect to Tiesto, DiMatteo testifies that he raised his initial

  $207,000 offer to $400,000 “[b]ecause it appeared that we were going to lose [him]

  to Electric Zoo”. Marx Cert. Ex. 11 (DiMatteo Dep. at 76:17-77:2). However, it is

  undisputed that Tiesto’s agent, Paul Morris, never agreed that Tiesto would

  appear at the Event for $400,000.           SUMF ¶ 11, citing Marx Cert. Ex. 11

  (DiMatteo Dep. at 77:3-19); id. at 77:20-22 (reiterating that Morris never agreed

  that Tiesto would appear at the Event).11

        Likewise, with respect to AM Only artist David Guetta, David Guetta never

  accepted this offer, and David Guetta’s agent Paul Morris never agreed that

  Guetta would appear at the Event. SUMF ¶¶ 13-14, citing Marx Cert. Ex. 11

  (Dimatteo Dep. at 78:2-15).

        Nor did Windish artist Steve Angello ever agree to perform at the Event.


  11
     Bruno was able to provide further insight into the Tiesto refusal. Although
  DiMatteo handled all talent offers, Bruno recalls going with DiMatteo to a meeting
  at AM Only at which Tiesto’s offer was discussed. Marx Cert. Ex. 13 (Bruno Dep.
  at 37:10-38:2) . According to Bruno, Tiesto’s agent was demanding $400,000 for
  Tiesto, plus part ownership of the Event. Id. at 39:24-40:2. No one on the team
  was willing to make Tiesto a part-owner. Id. at 40:11-13 (“The money we could
  work on, but the giving them part ownership of the festival was not something we
  were looking to do.”); see also id. at 44:22-45:4 (“I believe everybody was in
  agreement that that was not real. Q: Meaning not something that you wanted to
  pursue? A: Yes, correct.”).

                                              21
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  SUMF ¶ 16, citing Marx Cert. Ex. 11 (DiMatteo Dep. at 82:19-83:2, 83:22-84:14,

  testifying that DiMatteo’s discussions with Angello’s agent never got beyond “a

  back and forth dialogue about the Event” and that Angello was declining the offer).

        As for the allegation that Live Nation pressured the talent agencies to

  withhold their artists from the Event, Plaintiffs acknowledge that they have no

  evidence to support that. See Marx Cert. Ex. 1 (Barrett Dep. at 79:22-80:5 and

  82:17-83:15) (agreeing that he has no evidence that Live Nation instructed

  agencies to withhold talent; that’s just what he believes happened). In fact, the

  undisputed evidence is to the contrary.        According to John DiMatteo, the only

  member of the “team” who interacted with the talent agencies in connection with

  the Event, and thus the only one with first-hand knowledge, Live Nation did not

  pressure anyone at WME, AM Only or Windish to withhold their artists from the

  Event.   SUMF ¶ 22, citing Marx Cert. Ex. 11 (DiMatteo Dep. at 85:6-14).

  Plaintiffs’ collaborator on the Event, Alan Sacks, also testifies that he has no

  knowledge that Live Nation ever blocked talent from the Event. Marx Cert. Ex. 2

  (Sacks Dep. at 52:8-11); see also id. at 90:2-6 (confirming that he is unaware of

  any instance where a performer refused an offer to play at the Event due to

  pressure from Live Nation); cf. Marx Cert. Ex. 13 (Bruno Dep. at 108:17-19,

  testifying that DiMatteo and Sacks are the only ones “in the position to know

  exactly what happened with each act or each offer”).


                                            22
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  J.    SFEM and Plaintiffs Enter into a Contract for the Event

        On March 7, 2011, Plaintiffs and SFEM entered into a contract for the

  Event. SUMF ¶ 1, citing Marx Cert. Ex. 5 (Mar. 7, 2011 contract between Juice

  Entertainment and SFEM). The contract specified that the Event would be held

  on June 25 and 26 in 2011 and, for the next four years “on the first Saturday

  and Sunday of the fair” with an additional five-year option. See id. (Mar. 7, 2011

  contract at Sect. 1(a), (b)). The contract required Plaintiffs to provide, by March

  1, 2011, “a copy of talent/acts/entertainment” and “copies of all contracts.” See

  id. (Mar. 7, 2011 contract at Sect. 3(c)). Given that it was already March 7 and

  Plaintiffs still had no “talent/acts/entertainment” or contracts,12 SFEM agreed to

  give Plaintiffs a 30-day extension (i.e., to April 1) to meet that requirement.

  SUMF ¶ 4, citing Marx Cert. Ex. 25 (March 7, 2011 Request for Extension,

  granting Juice Entertainment’s request for 30-day extension “pertaining to section

  3 item (c)).

  K.    Plaintiffs Fail to Meet Their April 1 Deadline; SFEM Cancels Contract

        Despite their 30-day extension, when Plaintiffs did not meet their April 1,

  2011 deadline to produce signed contracts with artists, SFEM canceled

  Plaintiffs’ contract. SUMF ¶ 23, citing Marx Cert. Ex. 4 (Dorso Dep. at 10:6-16);

  12
     Indeed, Plaintiffs’ offers to the 30 WME artists and the five Windish artists had
  already expired as of February 12 and March 1, respectively. See this SOF, Sect.
  G(2), supra.

                                          23
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  id. at 85:15-86:1, testifying that “[m]y decisions were made based on a contract,

  and they [i.e., Plaintiffs] couldn’t perform.”) (emphasis added).          As Dorso

  explains:

               To be honest, [by March 7, 2011] we were already
               outside the dates. … [but t]hey said, just let us … the
               contracts are coming. Give us some more time. … I said,
               all right, all right, we’ll do that. Get your act together,
               and you have 30 days to do it. I shouldn’t have believed
               any of it, because it obviously wasn’t true.
  Marx Cert. Ex. 4 (Dorso Dep. at 59:8-25). Asked why he thinks Plaintiffs were

  unable to perform under the contract, Dorso testifies:

               Well, you know, I don’t think they signed any acts
               because they were looking for the big act. When the big
               act couldn’t get signed, they didn’t want to have deposits
               out and lose their money on the other acts. … So I think
               it was really a snowballing thing, [they] just started to
               lose control of the whole thing.

  Id. at 87:23-88:10.13

  13
    Notably, Dorso testifies that, even if Plaintiffs had been able to meet their
  contractual obligations, they would never have been permitted to put on the
  Event for more than one year (SUMF ¶ 26):
               By the way, … no one was really familiar with what they
               were going to produce … electric dance. Now that we
               know what it is, we would never allow it at the fair. It
               would have been a one-year contract. … Too many drugs
               and too many problems, and that’s not the kind of fair we
               have. It is a family event. … [T]hey said that this is a
               teen event. … [W]e were a little bit naïve.
  Dorso Dep. at 45:8-46:2 (emphasis added). In fact, Dorso says that Plaintiffs
  might not even have been allowed to come back for a second night in 2011. Id. at
  91:6-8 (after observing what happened at “the Electric Daisy event … last year at
  MetLife Stadium … [d]rug-wise and crowd control and hundreds and hundreds of
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  L.    Uncontroverted Evidence Shows That Live Nation Said Nothing That
        Adversely Affected Plaintiffs’ Contract with SFEM or That Damaged
        Their Reputations
        Plaintiffs allege that Live Nation made two defamatory statements about

  them. Plaintiffs allege that Live Nation: (1) “[i]n meetings with members of

  SFEM and the [New Jersey Sports and Exposition] Authority, … falsely stated that

  Plaintiffs associated with ‘thieves’ and could not be trusted”; and (2) “told third

  parties that Plaintiffs lacked the funding, business acumen, and experience in

  concert promotion to be able to perform under the Agreement with SFEM.”

  Amended Compl. ¶ 133. Plaintiffs allege that statements (1) and (2) were made to

  Dorso on February 18, 2011 and March 7, 2011, respectively. Id. at ¶¶ 89-90, 93.14

  According to Plaintiffs, these two statements caused “the dissolution of [Plaintiffs’

  SFEM] contract” and “reputational damage” to Plaintiffs.            See id. at ¶ 134


  kids going to the hospital …. “I don’t know if [Plaintiffs] would have went the
  second night if I sold out the first night, to be honest with you. … [K]nowing what
  I know now…, it’s not something that we would want there.”); cf. Marx Cert. Ex. 3
  (Dorfman Dep. at 190:13-20) (agreeing that SFEM had the right to reject any act
  that Plaintiffs proposed).
  14
     Although Count III (Defamation) conclusorily alleges that statement (2) was
  made to “third parties” (defined as “representatives of SFEM, representatives of
  the Authority, artists, and talent agents” (see id. at ¶131)), the “fact” section of the
  Amended Complaint alleges that statement (2) was made solely to Dorso. See id.
  at ¶93 (alleging that, “[o]n March 7, 2011, … Miller and D’Esposito made …
  statements to Mr. Dorso regarding Plaintiffs’ ability to fulfill their commitment to
  SFEM. In particular, Miller and D’Esposito stated that Plaintiffs were ‘broke’ and
  could not afford the necessary talent to stage the State Fair concerts. They also
  said that Plaintiffs lacked the expertise needed to produce concerts of the size
  contemplated in the Engagement Letter.”) (emphasis added).
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  (claiming that the alleged statements “adversely impacted the business relationship

  between SFEM, the Authority and others, which led to the dissolution of the

  contract and, further, caused reputational damage”); see also id. at ¶ 136 (with

  respect to “reputational damage,” claiming that the alleged statements have

  “adversely impacted [Plaintiffs’] careers and future business opportunities in the

  entertainment industry.”).

        Only one person can credibly testify concerning Plaintiffs’ SFEM contract

  and the reason(s) it was canceled: SFEM President Al Dorso. And Dorso has

  done so. It is Dorso’s sworn testimony that:


              [T]he boys at Juice [i.e., Plaintiffs] had a contract and
              they had set certain goals at certain times, and they
              were way past those goals. …. I actually kept giving
              them the benefit of the doubt. They are young guys. I
              thought that they needed a break and they were trying
              hard, so I kept extending the … goals. They weren’t
              performing to the contract.
  SUMF ¶ 23, citing Marx Cert. Ex. 4 (Dorso Dep. at 10:6-16) (emphasis added).

  Based on undisputed sworn testimony, Dorso recalls no one from Live Nation ever

  telling him that Plaintiffs “associated with thieves,” “lacked funding” or “lacked

  the experience necessary to put on a show of the type [they were

  contemplating].” SUMF ¶ 24, citing Marx Cert. Ex. 4 (Dorso Dep. at 84:12-16;

  86:19-87:3). Moreover, Dorso testifies that, even if such statements had been

  made, “it wouldn’t have mattered. I mean, there is a contract in place, and why

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  would any of that matter?” SUMF ¶ 25, citing Marx Cert. Ex. 4 (Dorso Dep. at

  85:2-7). Asked about D’Esposito in particular, Dorso testifies that he does not

  recall D’Esposito ever saying anything negative about Plaintiffs. Id. at 85:8-19.15

  And even if he had, Dorso testifies that it would have had no impact on the

  relationship between SFEM and Plaintiffs. As Dorso explained: “My decisions

  were made based on a contract, and they [i.e., Plaintiffs] couldn’t perform.” Id. at

  85:15-86:1(emphasis added).

        In addition, the allegedly defamatory statements pre-dated the SFEM

  contract, which was signed on March 7, 2011. Id. at ¶ 95. That was the very

  reason why this Court, in July 2012, dismissed Plaintiff’s defamation claim

  without prejudice:

              All of the alleged defamatory statements made to SFEM
              and the venue predated the finalization of Plaintiffs’
              contract. No defamatory statements to SFEM or a third
              party, such as the venue, are alleged after contract
              finalization. The Court cannot reasonably infer that
              SFEM cancelled Plaintiffs’ contract as a result of
              defamation that predated signing the contract.

  July 3, 2012 Opinion, p. 8 (Dkt. 20). The only thing that has changed since then is

  that the person to whom Plaintiffs claim the defamatory statements were made has

  now testified under oath that he never heard such statements and that, even if he

  had heard them, they would have had no impact.

  15
    According to Dorso, “[e]verybody knows John D[’Esposito] is a bull in a china
  closet and they don’t listen to half of what he says.” Id.
                                          27
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                                     ARGUMENT

  I.    SUMMARY JUDGMENT STANDARD

        Under Fed. R. Civ. P. 56(c ), summary judgment is appropriate where there

  is no genuine issue as to any material fact, and the moving party is entitled to

  judgment as a matter of law. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).

  A genuine issue of material fact is one that will permit a reasonable jury to return a

  verdict for the nonmoving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

  248 (1986). A nonmoving party, however, may not rest upon mere allegations,

  general denials or vague statements in opposing a summary judgment motion.

  Ortiz v. Yale Materials Handling Corp., 2005 WL 2044923, at *2 (D.N.J. Aug. 24,

  2005) (citing Trap Rock Indus., Inc. v. Local 825, Int’l Union of Operating Eng’rs,

  982 F. 2d 884, 890-91 (3d Cir. 1992)). Instead, the nonmoving party must set forth

  specific facts “by means of affidavits, depositions, answers to interrogatories, or

  admissions … that show there is a genuine issue for the trier of fact to resolve.” Id.

  (quoting Cooper v. Cape May Cty. Bd. of Soc. Servs., 175 F. Supp. 2d 732, 741

  (D.N.J. 2001)). Conclusory allegations do not meet the non-moving party’s duty

  to set forth specific facts showing that a genuine issue of material fact exists and

  that a reasonable factfinder could rule in its favor. Id. (citing Ridgewood Bd. of Ed.

  v. Stokley, 172 F. 3d 238, 252 (3d Cir. 1999)).

  II.   LIVE NATION IS ENTITLED TO JUDGMENT AS A MATTER OF
        LAW
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        Despite engaging in extensive discovery, Plaintiffs have no competent

  record evidence to support any of the three remaining claims they assert against

  Live Nation.

        A.       Live Nation Should Be Granted Summary Judgment on Counts I
                 and II (Tortious Interference with Contract and Business
                 Relations)

        Plaintiffs’ allegations in Counts I and II are closely related. In Count I,

  Plaintiffs allege that Live Nation interfered with their SFEM contract “by blocking

  access to the agencies and the artists that [Plaintiffs’ company] Juice Entertainment

  needed to stage concerts.” Amended Compl. ¶ 111. In Count II, Plaintiffs allege

  that Live Nation interfered with their business relations with the three talent

  agencies (WME, AM Only and Windish), the artists, SFEM and the Authority by

  “exert[ing] pressure on those parties with the design and intent to prevent them

  from doing business with Plaintiffs.” Id. at ¶¶ 120-21.16 Summary judgment

  should be granted on these claims because the undisputed facts of record show no

  evidence of interference.

        Under New Jersey law, a claim that defendant has prevented or impeded the

  plaintiff’s performance of a contract is governed by § 766A of the Restatement

  (Second) of Torts. See Windsor Sec., Inc. v. Hartford Life Ins. Co., 986 F. 2d 655,

  16
     As the Court has noted, this claim is improperly alleged against SFEM as
  “Plaintiffs had an existing contract with SFEM, not a potential business
  relationship.” July 3, 2012 Opinion at 7 (Dkt. 21).
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  660 (3d Cir. 1993). Section 766A states:


            One who intentionally and improperly interferes with the
            performance of a contract … between another and a third
            person, by preventing the other from performing the contract
            or causing his performance to be more expensive or
            burdensome, is subject to liability to the other for the
            pecuniary loss resulting to him.

        Where a defendant is alleged to have tortiously interfered with a plaintiff’s

  prospective or existing economic relationship:


            [… the plaintiff must show] (1) [the] plaintiff’s existing or
            reasonable expectation of economic benefit or advantage;
            (2) the defendant’s knowledge of that expectancy; (3) the
            defendant’s wrongful, intentional interference with that
            expectancy; (4) the reasonable probability that the plaintiff
            would have received the anticipated economic benefit in the
            absence of interference; and (5) damages resulting from the
            defendant’s interference.

  Lightning Lube, Inc. v. Witco Corp., 4 F. 3d 1153, 1167 (3d Cir. 1993) (internal

  citations omitted).

        With respect to both Counts I and II, the undisputed evidence of record

  contradicts Plaintiffs’ allegation that Live Nation “block[ed] access to the agencies

  and the artists” or “pressure[d] those parties … to prevent them from doing

  business with Plaintiffs.”   See SOF, Sect. I, supra (citing evidence showing that

  Live Nation never pressured agencies to withhold talent).         In fact, Plaintiffs

  acknowledged at deposition that they had no evidence to support that allegation.

  Id.   With respect to Count II, contrary to the allegations in the Amended

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  Complaint, Plaintiffs had no “existing or reasonable expectation” that any of the

  artists to whom they had made offers would actually perform at the Event. See

  SOF, Sects. H, I, supra (citing evidence showing that none of the three potential

  headline artists had ever agreed to perform at the Event and the reasons for their

  refusals).17

         The Amended Complaint alleges that Plaintiffs were unable to procure talent

  for the Event from AM Only, Windish and WME because the approximately 56

  offers they made to artists represented by those agencies were not accepted due to

  Live Nation’s interference and that the headliners “pulled out of the show” after

  verbally committing to appear.

         Evidence produced in discovery, however, shows that this lack of

  acceptance was due to the fact that the Event conflicted with well-established

  festivals. For example, most of the artists to whom offers were made, including

  the three proposed headliners, all performed at the well-established Electric Daisy

  Carnival in Las Vegas on the same days that Plaintiffs hoped to put on their Event

  in New Jersey. SUMF ¶ 21, citing Marx Cert. Ex. 6 (EDC 2011 schedule); Marx

  Cert., Ex. 3 (Dorfman Dep. at 117:5-9, testifying that he knew EDC was putting on

  17
     Cf. Amended Compl. ¶ 7 (alleging that Tiesto, David Guetta and Steve Angello
  all “gave every indication that he would perform at the show”); id. at ¶ 76
  (claiming that Plaintiffs considered the aforementioned three artists “confirmed or
  in the process of being confirmed”); id. at ¶ 80 (claiming that “Plaintiffs had a
  verbal agreement from Tiesto to perform”).

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  the same kind of event on the same days in Las Vegas).18

        Plaintiffs themselves had no interactions with AM Only, Windish or WME

  with respect to the procurement of the headlining and supporting talent for the

  Event; rather, they relied exclusively on John DiMatteo.         According to Mr.

  DiMatteo, the three headliners all declined to appear at Plaintiffs’ Event for

  reasons that did not include any alleged “interference” by Live Nation. Tiesto, for

  example, decided to play at Electric Zoo over Labor Day 2011. See Marx Cert. Ex.

  11 (DiMatteo Dep. at 34:10-12, testifying that “Tiesto’s offer was not accepted

  because … he was going to Electric Zoo.”); id. at 108:3-109:2 (finding it

  reasonable that Tiesto’s agreement with Electric Zoo prohibited him from playing

  at Event: “It happens all the time.”).

        Similarly, the undisputed facts of record do not support Plaintiffs’ contention

  that the proposed headliners “pulled out of the show” after making initial verbal

  commitments to appear. Tiesto’s agent, Paul Morris, never agreed that Tiesto

  would appear at the Event for $400,000. SUMF ¶ 11, citing Marx Cert. Ex. 11

  (DiMatteo Dep. at 77:3-19, 77:20-22, reiterating that Morris never agreed that

  Tiesto would appear at the Event). Likewise, AM Only artist, David Guetta, never

  accepted Plaintiffs’ offer, and his agent, Paul Morris, never agreed that he would

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    Plaintiffs themselves acknowledged that there was considerable overlap between
  the artists they had wanted for the Event and those who went on to perform instead
  at EDC in Las Vegas. SUMF ¶ 21, citing Marx Cert. Ex. 3 (Dorfman Dep. at
  119:4-124:5).
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  appear at the Event. SUMF ¶¶ 13-14, citing Marx Cert. Ex. 11 (DiMatteo Dep. at

  78:2-15). Nor did Windish artist Steve Angello ever agree to perform at the Event.

  SUMF ¶ 16, citing Marx Cert. Ex. 11 (DiMatteo Dep. at 82:19-83:2, 83:22-84:14,

  testifying that his discussions with Angello’s agent never got beyond “a back and

  forth dialogue about the Event” and that Angello was declining the offer).

        Plaintiffs acknowledge that they themselves have no evidence to support the

  allegations of interference. See Marx Cert. Ex. 1 (Barrett Dep. at 79:22-80:5;

  82:17-83:15) (agreeing that he has no evidence that Live Nation instructed

  agencies to withhold talent; that’s just what he believes happened).              John

  DiMatteo, the only member of the “team” who interacted with the talent agencies

  in connection with the Event (and, thus, the only one with first-hand knowledge)

  provided no evidence that Live Nation pressured anyone at WME, AM Only or

  Windish to withhold their artists from the Event. SUMF ¶ 22, citing Marx Cert.

  Ex. 11 (DiMatteo Dep. at 85:6-14). Finally, and perhaps most tellingly of all, after

  serving WME AM Only and Windish with deposition subpoenas, Plaintiffs

  abandoned that effort, knowing that, if deposed, these entities -- the “targets” of the

  supposed interference -- would corroborate DiMatteo’s admission that Live Nation

  said or did nothing to cause Plaintiffs’ offers to appear at the Event to be rejected.

        Thus, the undisputed facts of record demonstrate that, while there are many

  reasons why the headlining and supporting artists who Plaintiffs needed to appear


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  at their proposed EDM event did not accept Plaintiffs’ offers, these reasons did not

  include alleged pressure from Live Nation. Plaintiffs cannot, therefore, show

  either the “expectation” or the “interference” that their tortious interference with

  contract and business relations claims require. Accordingly, Live Nation should be

  granted judgment on those claims as a matter of law.

        B.    Live Nation Should Be Granted Summary Judgment on Count III
              (Defamation)

        To prove defamation, plaintiff must show, “in addition to damages, … (1)

  the assertion of a false and defamatory statement concerning another; (2) the

  unprivileged publication of that statement to a third party; and (3) fault amounting

  to at least negligence by the publisher.” Deangelis v. Hill, 180 N.J. 1, 12-13

  (2004). Here, Plaintiffs can show none of these elements.

        Plaintiffs allege that Live Nation: (1) “[i]n meetings with members of SFEM

  and the [New Jersey Sports and Exposition] Authority, … falsely stated that

  Plaintiffs associated with ‘thieves’ and could not be trusted” and (2) “told third

  parties that Plaintiffs lacked the funding, business acumen, and experience in

  concert promotion to be able to perform under the Agreement with SFEM.” See

  SOF, Sect. L, supra. Plaintiffs allege that statements (1) and (2) were made to

  Dorso on February 18, 2011 and March 7, 2011, respectively. Id. Plaintiffs allege

  that these statements caused “the dissolution of [Plaintiffs’ SFEM] contract” and

  also caused them “reputational damage.” Id.
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        Plaintiffs have no evidence whatsoever that Live Nation made either of these

  statements. See id., Sect. L(1), supra.

        As an initial matter, Dorso denies that anyone from Live Nation ever made

  the allegedly defamatory statements to him. SUMF ¶ 24, citing Marx Cert. Ex. 4

  (Dorso Dep. at 84:12-16; 86:19-87:3). Even more significantly, the undisputed

  facts of record establish that, even if Live Nation had made such statements, they

  would have had no effect on SFEM’s decision to terminate Plaintiffs’ contract.

  That decision was made because Plaintiffs failed to comply with the April 1, 2011

  deadline to supply a talent roster, not because of any alleged defamatory

  statements. SUMF ¶ 25, citing Marx Cert. Ex. 4 (Dorso Dep. at 85:2-7, testifying

  that “it wouldn’t have mattered. I mean, there is a contract in place, and why

  would any of that matter?”).

        Plaintiffs’ defamation claim also fails because they cannot show damages.

  Ward v. Zelikovsky, 136 N.J. 516, 541 (1994) (declaring that, for a defamation

  claim, “special damages,” defined as “‘the loss of something having economic or

  pecuniary value,’” is “a prerequisite to any recovery”) (citation omitted). First, the

  statements that were allegedly made pre-dated the very contract whose

  “dissolution” they supposedly caused. See SOF, Sect. L (1), supra. Given that

  timing, even if the offending statements were made, the required cause-and-effect

  relationship between statements and “harm” is lacking. And even if made, the


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  alleged defamatory statements caused Plaintiffs no damages because, as Mr. Dorso

  explained, they were not the reason that SFEM terminated the Contract. Nor is

  Plaintiffs’ claim of “reputational damage” relevant to this analysis, as “‘lowered

  social standing and its purely social consequences are not sufficient’” to establish

  special damages. See Ward, 136 N.J. at 542 (citation omitted).

          Plaintiffs’ defamation claim is, thus, completely baseless.      Live Nation

  should be granted judgment on that ill-conceived claim as a matter of law.

       III.   Plaintiffs’ Lost Profits Claimed are Barred as a Matter of Law19

          Even if some or all of Plaintiffs’ claims were to survive this motion, well-

  settled law precludes Plaintiffs from recovering speculative lost profits for a new

  venture that did not, and would never, turn any profit. Accordingly, to the extent

  summary judgment is not granted on all of Plaintiffs’ claims, the Court should

  enter an order barring Plaintiffs from attempting to introduce any lost profit

  evidence.

          New Jersey courts adhere to the “new business rule” and do not award lost

  income damages calculated on the “present value of a future pie-in-the sky”

  business venture. Essex Cnty. Vocational Sch. Bd. of Educ. v. New United Corp.,


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     Plaintiffs have produced an expert report that purports to quantify their alleged
  lost profits. This motion does not address that report but, rather, is based on legal
  principles relevant to Plaintiffs’ lost profit claim. Should any portion of Plaintiffs’
  claims survive this motion, Live Nation reserves its right to attack Plaintiffs’ expert
  report on Daubert grounds.
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  No. A-1873-12T2, 2014 WL 1356603, at *9 (App. Div. Apr. 8, 2014) (finding trial

  court correctly refused to award lost income for “present value of a future pie-in-

  the sky” for real estate development that did not happen); see also RSB Lab. Svcs.,

  Inc. v. BSI, Corp., 368 N.J. Super. 540, 559-60 (App. Div. 2004) (“[U]ntil the

  Supreme Court says otherwise, the new business rule remains the law in this

  State.”). Simply put, the “prospective profits of a new business are considered too

  remote and speculative to meet the legal standard of reasonable certainty”

  necessary to substantiate a claim for lost profits. Essex Cnty., 2014 WL 1356603,

  at *9 (quoting Seaman v. U.S. Steel Corp., 166 N.J. Super. 467, 468–75 (App. Div.

  1979)).20


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    See also Bell Atlantic Network Svcs., Inc. v. P.M. Video Corp., d/b/a Avius, 322
  N.J. Super. 74, 101 (App. Div. 1999) (“Profits which are largely speculative, as
  from an activity dependent on … on chancy business opportunities, … untested
  products or entry into unknown or unviable markets, or the success of a new and
  unproved enterprise, cannot be recovered [; as that] which make[s] a business
  venture risky in prospect preclude[s] recovery of lost profits in retrospect.”);
  Gorjuice Wrap, Inc. v. Okin, Hollander & De Luca, LLP, No. A-4782-08T2, 2011
  WL 92957, at *14 (App. Div. Jan. 12, 2011) (dismissing a claim for lost profits as
  too remote and speculative to satisfy a “reasonable certainty” standard where the
  plaintiff’s “new and unproved enterprise” was a two-year old joint venture that
  never progressed beyond execution of the contract, had no “operational history,”
  failed to deliver on its contractual obligations, and never earned any profits under
  the agreement); cf. Bounanno Revocable Trust v. Franklin Universal Bldg. Corp.,
  No. BER-C-394-05, 2006 WL 2947689, at *5 (N.J. Super. Ct. Ch. Div. Oct. 13,
  2006) (finding claim for lost profits precluded where there was no showing that the
  relevant authorities would have approved regulatory filings that were a prerequisite
  to the proposed improvements giving rise to the claimed lost profits). In addition,
  courts routinely reject evidence of the profits plaintiffs earned in operating similar
  businesses, finding such evidence too fact-specific to provide an alternative basis
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        In short, lost profits are recoverable only “where it is certain that damages

  have resulted and the evidence affords a basis for estimating the damages with

  some degree of certainty.”      Id.   Here, Plaintiffs’ guess as to what Juice

  Entertainment might have earned had circumstances been different are either too

  speculative or are irrelevant to estimating recoverable damages.

        Plaintiffs cannot demonstrate that they earned, much less lost, any profits,

  nor have they supplied any evidence that “affords a basis for estimating … [their

  alleged unearned] damages with some degree of certainty.”          Seaman at 482.

  Formed in 2009, Juice did not conduct any business prior to obtaining the contract

  with SFEM. SUMF ¶ 29, citing Marx Cert. Ex. 3 (Dorfman Dep. at 176:2-9;

  232:8-11; 235:1-236-2).     As “a new and unproved enterprise,” Juice never

  produced a profit that could have been lost. Gorjuice, 2011 WL 92957, at *14.




  for calculating the profits a new venture might have earned. See Weiss v. Revenue
  B. & L. Ass’n, 116 N.J.L. 208, 212-13 (1936) (rejecting evidence of operation of
  similar business in the same city during the same period as a basis for computing
  lost profits, finding that, because business success “usually depends upon a variety
  of circumstances,” “outcome [for new businesses] is … too uncertain to provide a
  tangible basis for [lost profits] computation.”); Stanley Co. of Amer. V. Hercules
  Powder Co., 16 N.J. 295, 315(1954) (approving trial court’s exclusion of evidence
  of plaintiff’s operation of similar business to determine lost profits, as “other
  factors (management, cost operation) rendered such evidence irrelevant”); cf.
  Seaman v. U.S. Steel Corp., 166 N.J. Super. at 482 (because plaintiffs had never
  operated or rented out the exact type of crane at issue, the Court considered the
  crane rental “to be a new operation in their business, [for which plaintiffs had no]
  prior experience [upon which to base] … the floating crane’s potential as profit-
  producing equipment.”).
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         Moreover, Plaintiffs’ other professional earnings (or that of any of their

  collaborators) are too remote and speculative to serve as a basis for computing lost

  profits. See Stanley Co. of Amer. at 315; Weiss at 212-15.

         Even if such earnings comparisons were an acceptable basis for estimating

  lost profits, Plaintiffs have produced no evidence to show that they made a profit in

  any of their other professional ventures. In any event, Plaintiffs cannot show that

  profits earned in connection with other ventures are at all relevant to estimating

  unearned Event profits. It is undisputed that:

   The only festival Plaintiffs produced, the Latin Festival, was by all accounts
    disappointing and Dorfman and Barrett lost money. SUMF ¶ 28, citing Marx
    Cert. Ex. 1 (Barrett Dep. at 23:7-8; 23:14-24:1, testifying that Plaintiffs lost
    between $5,000 and $10,000 on the Latin festival); Marx Cert. Ex 3 (Dorfman
    Dep. at 30:4-10; 70:25-71.8; 73:1-5, testifying that “[w]e rushed the event and
    we actually didn’t land an anchor.”); id. at 81:14-83.8, testifying that “[w]e lost
    money” and that, of the anticipated 10,000 attendees, only about 1,500 to 2,000
    showed up).

      Plaintiffs have no competent evidence of having produced festivals of the
      magnitude and scale contemplated by the contract with SFEM. SUMF ¶ 27,
      citing Marx Cert. Ex. 1(Barrett Dep. at 273:9-12, testifying that his only
      previous experience with outdoor music festivals had been as a performer);
      Marx Cert. Ex. 3 (Dorfman Dep. at 29:9-30:10, testifying that he was not
      involved with any large scale event festivals prior to 2010); id. at 35:1-6,
      testifying that Dorfman’s club events had, at most, 5,000 attendees).

   And, Plaintiffs had no experience contracting with EDM artists -- particularly
    anchor talent, such as Tiesto, David Guetta or Steve Angello, capable of
    attracting the kind of attendance they contemplated. SUMF ¶ 27, citing Marx
    Cert. Ex. 1 (Barrett Dep. at 45:20-46:7, testifying that he never had direct
    communication with, nor did he buy talent through, the three agencies); Marx
    Cert. Ex. 3 (Dorfman Dep. at 38:16-39:1, testifying that his largest talent
    contract was $150,000 for Jonathan Peters).
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         In view of these undisputed facts of record, the Court should apply the new

  business rule and enter an order barring Plaintiffs from attempting to offer any

  “lost profits” evidence at trial.

                                      CONCLUSION

         For all of the foregoing reasons, Live Nation respectfully requests that its

  motion for summary judgment be granted and that Plaintiffs’ Complaint be

  dismissed in its entirety and with prejudice. Alternatively, if the Court denies

  Defendants’ motion for summary judgment, in whole or in part, Live Nation

  respectfully requests that the Court enter an Order granting partial summary

  judgment, barring Plaintiffs from offering, at trial, any documentary or testimonial

  evidence of any supposed lost profits.

                                        Respectfully submitted,

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